Case No. 1:12-cv-02585-RPM Document 6-1 filed 10/03/12 USDC Colorado pg 1 of 44

PPENDIX B

Case No. 1:12-cv-02585-RPM Document 6-1 filed 10/03/12 USDC Colorado pg 2 of 44

UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK SO ay
UNITED STATES OF AMERICA,
: Plaintiff,
—versus— es 93-cr-0180 (KTD)
RAMZIYOUSEF, NOTICE OF APPEAL
Defendant. :

Notice is Hereby given that RAMZI YOUSEF hereby appeals to the United
States Court of Appeals for the Second: Circuit from the decision and judgment of

this Coutt,,
Entered in this action on the 28" of July 2011.

Dated: Sept. 21, 2011
White Plains, NY

p>

ernard V. Kleinman, Esq. (BK2715)
_ Attorney for Defendant YOUSEF
Law Office of Bernard V. Kleinman, PLLC
2 Gannett Drive, Suite 418
White Plains, NY 10604
Tel. 914.644.6660
Fax: 914.694.1647
Email: attrnylwyr@yahoo.com

To: David Raskin, Esq.
Attorney for Plaintiff
Asst. U.S. Attorney, SDNY
1 St. Andrew’s Plaza
New York, NY 10007

Case No. 1:12-cv-02585-RPM Document 6-1 filed 10/03/12 USDC Colorado pg 3 of 44

EXHIBIT A

Case No. 1:12-cv-02585-RPM Document 6-1 filed 10/03/12 USDC Colorado pg 4 of 44

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Case 1:93-cr-00180-KTD Document 827 Filed 04/09/10 Page 1 of f

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORE

¥e

United States of America,

93 CR 180 (KT)
~against-
ORDER
Ramadi Youse£é,
Respendetit . :
KEVIN THOMAS DUFFY, U.S.DIT.;
I appoint Sernard v. Kleinman,

as counsel from the
C.d.A,

panel for this district, to represent Ramzi Yousef, the
defendant in the captioned casé.

80 ORDERED.

Dated: New York, N.¥.
April &. 2010
we eeee Lee *REVIN THOMAS
Pe ye
Vgary
ary

Case No. 1:12-cv-02585-RPM Document 6-1 filed 10/03/12 USDC Colorado pg 5 of 44
f Page 3 of 3

Page 2
Slip Copy, 2011 WL 3422834 (S.D.N.Y.)
(Cite as: 2011 WL 3422834 (S.D.N.Y.))

Accordingly, this Court “may decline to enter-
iain an application for a writ of habeas corpus and
may transfer the application ... to the district court
having jurisdiction to entertain it? 28 U.S .C. §§
1631, Because this Court lacks jurisdiction, it does
not reach the merits of Petitioner's claims. See
Rumsfeld, 542. U.S. at 430.

{IE CONCLUSION sk.

*2 For the reasons set forth above, this action
is transferred to the United States District Court for
the District of Colorado,

SO ORDERED.

S.D.N.Y.,201L-
U.S. v, Yousef
Slip Copy, 2011 WL 3422834 (S.DN, ¥)

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Case No. 1:12-cv-02585-RPM Document 6-1 filed 10/03/12 USDC Colorado pg 6 of 44
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ed a Ae Se Se hE SS Sd A Yh See fe
SS SS SS Se SS

UNITED STATES OF AMERICA,

.93-cr-180 (KTD)

— versus —

RAMZI YOUSEF,

Respondent.

— a ee Sy a ee ee ee

NOTICE OF APPEAL

To: U.S. Attorney, S.D.NLY., Esq.
. Attorney for United States Govt.

i St. Andrew’s Plaza
New York, N¥ 10007

Tel. No.

Pleasé Take Notice:
U Notice of Entry

“that the within is-a true copy of Decision/Order duly entered i in the office of the clerk of the within naitied court on

the_dayof_____, 2011.
> <

Pursuant to 22 NYCRR § 130.1-1-a, Certification of Non-frivolous Ple dings:
. - Dated: 21 Sep. 2011 . ob, V/ff >

ernard V, Kleinman, Esq.

LAW OFFICE OF BERNARD V, KLEINMAN, PLLC
Two Gannett Drive
Suite 418
White Plains, NY 10604
Tel. 914-644-6660
Fax: 914-694-1647
Email: atirnylwyr@yahoo.com

Case No. 1:12-cv-02585-RPM Document 6-1 filed 10/03/12 USDC Colorado pg 7 of 44

PPENDIX C

Case No. 1:12-cv-02585-RPM Document 6-1 filed 10/03/12 USDC Colorado pg 8 of 44

Slip Copy, 2011 WL 3422834 (S.D.N.Y.)
(Cite as: 2011 WL 3422834 (S.D.N.Y.))

United States District Court,
5.D. New York.
UNITED STATES of America,
v.

Ramzi YOUSEE, Respondent,

No. 93-cr—00180 (TD).
July 22, 2011,

MEMORANDUM & ORDER
KEVIN THOMAS DUFFY, District Judge.

*1 Petitioner Ramzi Yousef (“Petitioner”) brings
this petition for habeas corpus pursuant to 28 U.S.C. §
2255, claiming that the Special Administrative
Measures (“SAMs”) applied to him during his incar-
ceration violate his constitutional rights.

For the reasons set forth below, the petition is
DENIED for lack of jurisdiction.

I, BACKGROUND
Petitioner is currently incarcerated at the Federal
Bureau of Prisons U.S.P. Administrative Maximum in
Florence, Colorado, for charges related to the 1993
World Trade Center bombing and Bojinka airliner
bombing plot. He is subject to SAMs, by which the
Attorney General sets forth detailed conditions of
confinement, pursuant to 28 C.F.R. § 501.3(a). SAMs
are implemented when “there is a substantial risk that
a prisoner’s communications or contacts with persons
could result in death or serious bodily injury to per-
sons, or substantial damage to property that would
entail the risk of death or serious bodily injury to
persons.” 28 C.E.R § 501.3(a)."™! As of October 2001,
Petitioner’s SAMs are authorized for one year periods
_and have been renewed annually since being issued by
the Justice Department in 1997.

FN1, During his original trial in 1996 it was
found that Petitioner was collecting urea in
his cell, Urea was a main ingredient in the
WTC bomb. Petitioner also attempted to
obtain the particular type of cheap wrist-
watch that had been used as the timing device
in the Bojinka plot.

By these measures, Petitioner is not allowed
meetings with physical contact, cannot share a cell
with other inmates, and is Hmited from communi-
cating with other inmates. The SAMs limit the vol-
ume, frequency and permitted recipients of Petition-

Page 1

er’s communications (oral, written or recorded) with
all persons including his attorney(s); permit examina-
tion, delay, and anaiysis of said communications; and
limit his access to publications. Petitioner previously
challenged the SAMs with the Federal Bureau of
Prisons, requesting both notice of the reasons for their
continued application and for the SAMs to be lifted.
These requests have been denied. On June 17, 2011,
Petitioner filed the instant habeas petition.

II. DISCUSSION

Since Petitioner’s § 2255 motion is “challenging
the conditions of [his] confinement,” it is properly
brought as a habeas claim pursuant to 28 U.S.C. §
2241, Jabarah v. Garcia, No. 08 Civ. 3592(DC), 2010
WL 3834663, at *4 (S.D.NLY. Sept. 30, 2010) (citing
Thompson v, Choinski, 525 F.3d 205, 209 (2d Cir.
2008)}. The Supreme Court held in Rumsfeld v. Pa-
dilla, 542 U.S. 426 (2004), that “for core habeas peti-
tions challenging present physical confinement, ju-
risdiction lies in only one district: the district of con-
finement,” and that the proper respondent “is the
warden of the facility where the prisoner is being held,
not the Attorney General or some other remote su-
pervisory official.” fd. at 435, 443; Drakoulis vy. Ash-
croft, 356 F.Supp.2d 367, 370 (S.D.N.Y.2005).
Therefore, the proper venue for Petitioner’s clairns is
the district where he is in custody. Jabarah, 2010 WL
3834663, at *3; see also Santuili vy. United States, No.
02 Civ. 8664(SAS), 2003 WL 21488084, at #2
(S.D.N.Y. June 25, 2003).

Accordingly, this Court “may decline to entertain
an application for a writ of habeas corpus and may
transfer the application ... to the district court having
jurisdiction to entertain it.” 28 U.S .C. §§ 1631. Be-
cause this Court lacks jurisdiction, it does not reach
the merits of Petitioner’s claims. See Rumsfeld, 542
US. at 430.

IH. CONCLUSION

*2 For the reasons set forth above, this action is
transferred to the United States District Court for the
District of Colorado.

SO ORDERED.

END OF DOCUMENT

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PPENDIX D

Case No. 1:12-cv-02585-RPM Document 6-1 filed 10/03/12 USDC Colorado pg 10 of 44

Page |
Slip Copy, 2011 WL 4424334 (S.D.N.Y.)}
(Cite as: 2011 WL 4424334 (S.D.N.Y.))
Only the Westlaw citation is currently available. Rule 60(b), id. at *53 n. 1, Petitioner has not presented
any grounds to justify reconsideration.
United States District Court,
8.D. New York. For the foregoing reasons, Petitioner's motion for
UNITED STATES of America, reconsideration is DENIED.
v.
Ramzi YOUSEF, Respondent. 80 ORDERED.
No. 93-cr-00180 (KTD). S.D.N.Y.,2011.
Sept. 20, 2011. U.S, v. Yousef

Slip Copy, 2011 WL 4424334 (S.D.N.Y.)
MEMORANDUM & ORDER
END OF DOCUMENT
KEVIN THOMAS DUFFY, District Judge.

*1 On September 2, 2011, Petitioner Ramzi
Yousef (“Petitioner”) moved for reconsideration
pursuant to Federal Rule of Civil Procedure 60(b) of
this Court's July 22, 2011 Order denying his petition
for habeas corpus. For the following reasons, the mo-
tion is DENIED,

The fact that a party disagrees with a court's de-
cision is not a basis for reconsideration, see, eg.
REMAS., Ine. v. So, 640 F.Supp.2d 506, 512-13
(S.D.N.Y.2009); to justify reconsideration, a party
must show “an intervening change of controiling law,
the availability of new evidence, or the need to correct
a clear error or prevent manifest injustice.” Virgin Atl.
Airways, Lid v. Nat'l Mediation Bd, 956 F.2d 1245,
1255 (2d Cir.}992). In turn, Petitioner has failed to
show that there were any issues of fact or jaw that the
Court overlooked. The case law cited by Petitioner in
his motion does nof alter this Court's conclusion that
Petitioner's habeas petition challenges the conditions
of his confinement, and thus, the only proper juris-
diction lies in the district of his confinement.

Second, Petitioner's motion is untimely under
Southern District of New York Local Rule 6.3, which
provides that a motion for reconsideration must be
served within fourteen days after entry of the chal-
lenged order. Petitioner's failure to move for recon-
sideration within this time period “is by itself a suffi-
cient basis for denial of the motion.” Grand River
Enters, Six Nations, Lid. v. King, 02 Civ, 5068, 2009
U.S. Dist. LEXIS 52600, at *52, 2009 WL 1739893
(S.DNLY. June 16, 2009). While a court may treat a
motion for reconsideration filed outside of Local Rule
6.3's fourteen day period as a motion made pursuant fo

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Case No. 1:12-cv-02585-RPM Document 6-1 filed 10/03/12 USDC Colorado pg 11 of 44

APPENDIX E

_ Case No. 1:12-cv-02585-RPM Document 6-1 filed 10/03/12 USDC Colorado pg 12 of 44

_ _Gase 1:93-cr-00180-KTD Document 827 Filed 04/09/2010 Page 1 of 1

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
wee re ee ee ee ee ee x
‘United States of America,
: 93 CR 180 {KTD)
-against- . :
, : ORDER
Ramzi Yousef, . :
Respondent, :
Re ee xX
KEVIN THOMAS DUFFY, U.S.D.d.;:
I appoint Bernard V. Kleinman, as counsel from the

C.,J,A, panel for this district, to represent Ramzi Yousef, the

defendant in the captioned case,

SO ORDERED.

Pated: New York, N.Y.
April x 2010
. 2
pun oe reverie KEVIN THOMAS DUFE .37D.d.

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Case No. 1:1

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2-Cv-02585-RPM Document 6-1 filed 10/03/12 USDC Colorado pg 13 of 44

"| PERSON REPRESENTED VOUCHER NUMBEK
‘Yousef, Ramzi Ahmed
2 DIST. DKT/DEF. NUMBER | 5, APPEALS DKT/DEF. NUMBER 6, OTHER DKT. NUMBER
1:93-000180-004 LS
8, PAYMENT CATEGORY 3, TYPE PERSON REPRESENTED 10. REPRESENTATION TYPE
Hab Jastructions}
Felony Adult Defendant abeas Corpus

F(S) CHARGED (Cite US, Code, Title & Section} if more than one offense, list (ap to five) major offenses charged, according to severity of offense.

FENS
iy 18 S44LF -- PENALTIES - If DEATH RESULTS

ATTORNEY'S NAME fast Name, MLL, Last Name, including any suffix} 13, COURT ORDER

“AND MAILING ADDR ESS £3 © Appointing Counsel O C Co-Counsel

Kleinman, Bernard ¥. , C1 ¥ Subs For Federal Defender {GB Subs For Retained Attorney
2 Gannett Drive OP Subs For Panel Attorney C1 ¥ Standby Counsel
Suite 418 Prior Attorney's Name: _____——————
White Plains NY 10604-3404 Appolntnseat Dates

CO Because the above-named person represented has testified ander oath ar bas
otherwise satisfied this court that he or she {1} is financially unable to emptoy counseb and

Telephone Number: @ 14 ) 644-6660 (2) does fot wish jo walve counsel, and because theinterests of Justice so require, the
tornef whosediame appears in Item }34s appoint 5 person in this case,
14, NAME AND MAILING ADDRESS OF LAW FIRM (oaly provide per instructions) ’ :

a
C1 *ofther45: nagrustioas)

Shefatu Presiding Judicial E Onder of Hg Court

Datholilieder N i Nune Proffane Date
Repayment or partial repayme! t ordered from the person repres¢ ed for this service at
time of appointment, C1YES NO

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» CLAIMED | CLAIMED HOURS AMOUNT REVIEW
15. | a. Arraignment and/or Plea See ee
b, Bail and Detention Hearings
¢, Motion Hearings
I 7
n a. Trial
Cc e, Sentencing Hearings
| . f. Revocation Hearings
| ; L& Appeats Court
| h. Other (Specify on additional sheets)
(Rate per hour =$ ) TOTALS:
16. | a. Interviews and Conferences
oO woe .
qu b. Obtaining and reviewing records ‘
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19, CERTIFICATION OF ATTORNEY/PAYEE FOR THE PERIOD OF SERVICE 20, APPOL 21, CASE DISPOSITION ‘
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FROM TO __
i 92, CLAIM SFATUS O Final Payment CUinterim Payment Number ______— C]} Supplemental Payment
. Have you previously appled to the court for compensation and/or remimbursement for this case? YES (J NO Ityes, were you paid? IVES © NO
Other than from the court, have you, or ta your knowled| e has anyone eise, received payment teompensation or anything or value) from any other source in connection with this
representation? OYES € NO Ifyes, give details on additional sheets,
[swear or affirm fhe truth or correctness of the above statements.
Signature of Attorneys Date; | _—
Sn a ee eae ee ae :
23, JN COURT COMP, 24, OUT OF COURT 45, TRAVEL EXPENSES 26. OTHER EXPENSES 27, TOTAL AMT, APPR/ CERT
28. SIGNATURE OF THE PRESIDING JUDICIAL OFFICER DATE 28a. JUDGE / MAG. JUDGE CODE
25, IN COURT COMP, 40, OUT OF COURT COMP. 31, TRAVEL EXPENSES 32, OTHER EXPENSES 33, TOTAL AMT, APPROVED
34, SIGNATURE OF CHIEF JUDGE, COURT OF APPEALS (OR DELEGATE) Payment DATE 3da, JUDGE CODE
approved in excess of the statutory thresheld amount.

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APPENDIX F

Case No. 1:12-cv-02585-RPM Document 6-1 filed 10/03/12 USDC Colorado pg 15 of 44

1 | UNITED STATES DISTRICT COURT
2 | SOUTHERN DISTRICT OF NEW YORK
3 :
4 | UNITED STATES OF AMERICA,
5
6
7 :
8 — versus — ‘ 93-cr-00180 (KTD)
9 *
10
11 Notice of Motion
12 |RAMZI YOUSEF,
13 Defendant.
14
15
16
17 PLEASE TAKE NOTICE that the above named defendant, RAMZI YOUSEF,
18 | by and through his attorney of record Bernard V. Kleinman, Esq., will move this
19 | Court before the Hon. Kevin Duffy, United States District Judge, Southern District
90 |of New York, in the United States Courthouse at 500 Pearl Street, New York, NY
21 |10007, at a time that is convenient to the Court for an order:
22 1. Re-considering the court’s Decision and Order of 22 July 2011, pursuant to
23 E.R.Civ.P. 60(b)C1); and
24_ 2 for such further relief as this Court shall deem just and proper. | _
25
26 | Dated: White Plains, NY
27 September 2, 2011
28 Yours, efc.,
29
31 fard Ui
32 BERNARD V. KLEINMAN, ESQ.
33 Attorney for Defendant Yousef
34 LAW OFFICE OF BERNARD V. KLEINMAN, PLLC
35 2 Gannett Drive
36 Suite 418

37 . White Plains, NY 10604

Case No. 1:12-cv-02585-RPM Document 6-1 filed 10/03/12 USDC Colorado pg 16 of 44

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To:

Hon. Kevin Duffy
United States District Judge
Southern District of New York

David Raskin, Esq.

Assistant U.S. Attorney, S.D.NLY.

[2]

Case No. 1:12-cv-02585-RPM Document 6-1 filed 10/03/12 USDC Colorado pg 17 of 44

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORIK

UNITED STATES OF AMERICA,

— versus — : 93-cr-00180 (TD)

Declaration & Memor-
andum of Law in
RAMZI YOUSEF, : Support of Motion
Defendant. :

STATE OF New YorK}
COUNTY OF WESTCHESTER}
SOUTHERN DISTRICT OF NEW YORK} SS!

Bernard V. Kleinman, Esq., pursuant to Title 28 United States Code
Section 1746, hereby declares, under penalty of perjury, that he is the
attorney of record for the named defendant, Ramzi Yousef, and, in that
capacity, he makes this declaration in support of the relief sought in the
annexed Notice of Motion. The statements asserted as facts herein are based
upon your Affirmant’s examination of the indictment, and complaint, and all
such other material provided by the Government, upon his conversations

with the defendant, and upon his review of the record and discovery

provided to date, and all proceedings previously had hereto. All matters

Case No. 1:12-cv-02585-RPM Document 6-1 filed 10/03/12 USDC Colorado pg 18 of 44

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about which Affirmant lacks personal knowledge are asserted herein as
being upon information and belief.

1. The Petitioner was indicted in (S12) 93-cr-180, in the Southern District
of New York, charging him with the 1993 bombing of the World Trade
Center, and the “Bojinka” Plot to destroy a number of U.S. flag aircraft
while in flight.

2. In 1996 the Petitioner was tried, in two separate trials, on these cases
and convicted of all charges.

3. The convictions were affirmed by the Second Circuit in 2003. See
United States v. Yousef, 327 F.3d 56 (2d Cir. 2003), cert. denied 540 U.S. .
993 (2003). .

4, Since the date of the Petitioner’s conviction he has been incarcerated at
ULS.P. Administrative Maximum, in Florence, CO. This is the Federal
Bureau of Prisons’ “supermax” facility.

5. Since in or around 1996 the Petitioner has been subject to Special
Administrative Measures, issued pursuant to 28 C.F.R. § 501.3. These
“SAMs” have been re-upped annually since Petitioner’s incarceration; the
most recent re-newal taking place in or around November 2010. The SAMs
have a one year limitation before they must be re-newed by the Attorney:

General, or his designee.

2]

Case No. 1:12-cv-02585-RPM Document 6-1 filed 10/03/12 USDC Colorado pg 19 of 44

| {

6. In or around April 8", 2010, this Court appointed counsel herein,
pursuant to the Criminal Justice Act. See order of this Court dated April 08,
2010, Docket Entry No. 827, annexed hereto as Exhibit A. -

7. On or about September 8", 2010, the Court was informed that the CJA
assignment referenced above was for the likely purpose of challenging the
Special Administrative Measures. See Docket Entry No. 829, under seal. ©

8. On or about January 10", 2011, Counsel requested form the Court, in.
anticipation of the lengthy nature of the habeas case challenging the SAMs
(a) petmission to file interim vouchers, and (b) permission to retain the
services of a para-legal. Both of these requests were granted by the. Court.
See prior order of the Court, Docket Entry No. 830.

9. On or about June 17", 2011, Petitioner did, by and through counsel
herein, file his habeas corpus Petition, accompanying Memorandum of Law,
and Exhibits, with this Court, and did serve a copy upon the Office of the
U.S. Attorney. for the Southern District of New York. See 93-cr-180,
District Court Docket Entry No. 841..

10. Notwithstanding that the Government never responded to Yousef’s
Petition for relief, this Court, on or about July 22d, 2011, issued a four page
Decision and Order, dismissing Yousef’s Petition, and transferring the

matter to the U.S. District Court for the District of Colorado. United States

[3]

Case No. 1:12-cv-02585-RPM Document 6-1 filed 10/03/12 USDC Colorado pg 20 of 44

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v. Yousef, 2011 WL 3422834 (S.D.N.Y. 2011), annexed hereto as Exhibit B.

The Court here relying upon the decision in Rumsfeld v. Padilla, 542 U.S.

426 (2004), holding that habeas petitions challenging conditions of
confinement must be. filed in the district in which the inmate is incarcerated.

Id. at 435, 436, cited to at 2011 WL 3422834 at *1. The Court further cited’
to Jabarah v. Garcia, 2010 WL, 3834663 (S.D.N.Y. 2010).

11.. Both of these cases are inapposite and provide no precedent for the. .
specific claims and causef{s] of action raised by Petitioner Yousef.. In
Jabarah, supra, the inmate, incarcerated at the same facility as Yousef, filed
a pro se Civil rights. petition challenging the SAMs as administered to him. -
More specifically, his claims were directed at the effect of the SAMs as
imposed him, and how they allegedly impeded and infringed upon his
constitutional rights. His complaint went through a laundty list of violations
of the Constitution. that the SAMs effected, including the First, Fourth, Fifth,

Sixth and Eighth Amendments.. Sitting by designation, Judge Chin ruled

* The court summarized Jabarah’s enumerated claims as follows,

The first amended complaint alleges that the application of SAMs, and
in particular the delay and/or seizure of his mail, violates Jabarah’s
constitutional rights. (7d. 30-45). First, he claims that the SAMs violate his
First Amendment rights because the restrictions deprive him of freedom of
speech, the right to petition the government for redress of grievances,
freedom of expression, freedom of association, and the right to receive
information consistent with his status as a prisoner. (/d. 31). Second, he
claims that the SAMs violate his Fourth Amendment rights because the
restrictions deprive him of the right to be free from unreasonable searches

[4]

Case No. 1:12-cv-02585-RPM Document 6-1 filed 10/03/12 USDC Colorado pg 21 of 44

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that (1) the proper vehicle for an inmate to challenge his conditions of
confinement is a habeas corpus petition, (2) the proper venue to bring sucha
suit is in the district of confinement, and (3) the proper respondent is the

inmate’s immediate custodian, i.e., the warden of the particular facility. /d. .

‘lat *4, Judge Chin, thus found that the suit must be brought in the District of

Colorado, and that the appropriate respondent would be the warden of USP
Administrative Maximum. . The suit was therefore dismissed, without
prejudice, as to all of the named defendants, with the Petitioner having the
right to commence the action in the District of Colorado. Jd. at #5 f

12. In Padilla, supra, the petitioner was. seized by. law enforcement
authorities as he deplaned in Chicago from a flight originating in Pakistan.

After being transported to New York, and held at’ the -Metropolitan:

and seizures. (/d. 35). Third, he claims that the SAMs violate his Fifth
Amendment tights because the SAMs deprive him of due process and equal
protection of the law as compared to fellow prisoners not upder the SAMs,
(Id, 38). Fourth, he claims that the SAMs violate his Sixth Amendment
tights because the SAMs deprive him of his right to counsel. Ud. 41). -
Finally, he claims that defendants exhibited deliberate indifference to the
impact of the SAMs on his health, and that the enforcement of SAMs.
violates his Eighth Amendment right to be free from cruel and unusual
punishment, (/d. J 44). He argues that the SAMs are “atypical, very
unreasonable, and a significant hardship.” (Ud. 23).
2010 WL at 3834663 *2.

¥ Judge Chin did allow the suit to proceed on the issue of personal liability and
money damages as to the named Defendants in the Southern District of New York.
lbid.

[5]

Case No. 1:12-cv-02585-RPM Document 6-1 filed 10/03/12 USDC Colorado pg 22 of 44

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Correctional. Center, a determination was made that he was “an enemy
combatant”. As a result thereof Padilla was turned over to Department of
Defense personnel and then transferred to the U.S. Navy Brig in Charleston,
SC. His CJA appointed counsel then commenced a habeas suit, in the .
Southern District of New York, alleging that he was being held in violation
of the First, Fifth, and Sixth Amendment, and the Suspension Clause of the
Constitution: Art. I, sec. 9, cl. 2. Named as respondents were the President,
the Secretary. 6f Defense, and the actual commander of the brig in South
Carolina. Without reaching the merits of Padilla’s claims, the Supreme
Court ruled that the language of the federal habeas statute makes clear that .
the properly named respondent in a habeas petition is the party who has
custody and control over the petitioner. 542 U.S. at 434-35. The Court, ina
five to four opinion, stated that, in accord with the both the statute and
established precedent, any challenge to the conditions of confinement must
name, as respondent the person who, for all practical purposes holds the
keys to the inmate’s cell, ie., the warden or other official in direct charge of
the place of confinement, viz.

longstariding practice confirms that in habeas challenges to.

present physical confinement - “core challenges” - the default

rule is that the proper respondent is the warden of the facility

where the prisoner is being held, not the Attorney General or

some other remote supervisory official.
Id, at 435. Emphasis added.

[6]

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13. The high Court summed up its ruling by stating that, in the. end, .
Padilla’s challenge was a simple one challenging the validity of his being .
held in custody against his will. Nothing. else. Jd. at 441+ Under such
circumstances, the appropriate respondent is, as noted above, the
Commandant of the Navy Brig in Charleston, sc

14. In the case at bar, the important distinction is that Yousef does not
challenge the issue of custody, in the sense of seeking his release therefrom.
Rather, he challenges the underlying basis his being held under.a certain set —
of conditions (mind you, not the actual conditions themselves). See
discussion infra. The point is that this is what can properly be termed “a
non-core habeas case”. That is, one on which the federal habeas statute is

being applied to other than the issue of challenging the actual physical

* The Supreme Court, in Padilla, noted the exception to the physical custody rule,
ie, a core habeas petition, that had previously been elucidated in Braden v.. 30"
Judicial Circuit Ct. of Ky., 410 U.S. 484 (1973). In Braden, the peitioner brought
habeas suit against the state court that had issued a detainer against him, in futuro.
The Supreme Court upheld his choice of respondent (the issuing court and not his
actual physical custodian) reasoning that Braden was not actually challenging his
present physcial confinement but, rather, a prospectivce confinement (by way of

| detainer) issued by the respondent state court. 410 U.S. at 495. See Padilla, 542 _

US, at 438-39.
In accord see Kholyavskiy v. Achim, 443 F.3d 946, — n. 6 (7" Cir. 2006).

8 In the majority’s own language, .
_ While Padilia’s detention is undeniably unique in many respects, it is at
bottom a simple challenge to physical custody imposed by the Executive-.
the traditional core. of the Great Writ.

[7

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18

19.

custody of the petitioner. See, eg., Farez-Espinoza v. Chertoff, 600 F. -
Supp.2d 488, 493-94 (S.D:N'Y, 2009) (Padilla not controlling in
immigration cases); Abner v. Secretary of Dep’t of Homeland Security, 2006 °°
WL 1699607 (D. Conn. 2006) (Padilla not controlling, regarding naming of ©
actual custodian in immigration deportation case, id. at *3); Somir v. United

States, 354 F. Supp.2d 215, 217 n. 2. (E.D.N.Y. 2005), and cases cited

|therein. When the challenge is a non-core habeas filing (Ze., where the

habeas petition “challenge[s] something other than present physical —
confinement, . . .”, Deng v. Garcia, 352 F. Supp.2d 373, 375 (B.D.N.Y.
2005)) then Padilla is not controlling, and.the properly named respondent is
the party responsible for the challenged.act. See, e.g., Shehnaz v. Ashcroft, -
2004 WL 2378371 (S.D.N.Y. 2005), holding that a non-core Aabeas petition

that challenges the underlying decision of the immigration judge is not

‘|bound by Padilla; id. at *4. Jn accord see Hoyt v. Holder, 2011 WL

1143043 at *2 (S.D.N.Y. 2011); King v. Ashcroft, 2005 WL 503936 at *2

|}(E.D.N.Y. 2005). See also In re Guantanamo Detainee Litigation, 04-cv-

1254 (D.D.C. 2008) (Padilla not binding in challenges to conditions of
confinement of Gitmo detainees). “See generally Boumediene v. Bush, 553-

U.S, 723, 791-92 (2008).

18}

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15. Significantly, operative to the Court’s ruling in Padilla was its prior
precedent.in Braden, supra. As the Supreme Court made clear in Padilla, in
discussing Braden, supra,

Under Braden, then, a habeas petitioner who challenges a form
of “custody” other than present physical confinement may name .
as respondent the entity or person who exercises legal control
with respect to the challenged “custody.” But nothing in
Braden supports departing from the immediate custodian rule in
the traditional context of challenges to present physical
confinement, * * *. To the contrary, Braden cited Wales{ v.
Whitney, 114 U.S. 564 (1885)] favorably and reiterated the
traditional rule that a prisoner.secking release from confinement —
must sue his “jailer.” 410 U.S., at 495, 93 S. Ct. 1123 Gnternal
quotation marks omitted). .

542 U.S. at 438. Citation omitted. Emphasis added.

16. ‘This Court also cited Padilla regarding its so-called “second ©
subquestion” 542 US. at 442. Here the Supreme Court discussed which
particular district court has jurisdiction to hear the petitioner’s case. This
decision springs directly from the issue of the nature of the habeas petition,
i.€., whether it is a “core” or “non-core” challenge. Since the Court had
already determined that Padilla’s petition was a core challenge to his being
held in custody, the only district court with jurisdiction over him had tobe
the District Court for the District of South Carolina, and not the Southern
District of New York. 542 USS. at 451, This decision is a logical one, and
clearly flows from the rationale that Padilla’s case was a core habeas

petition.

[9]

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17. However, as stated herein, the petition of Yousef is not a core . .
petition. He does not seek his release from custody. He challenges (see
discussion infra) the basis and continuing rationale for the imposition of the —
Special Administrative Measures upon him. This is a non-core habeas

proceeding. - Since, as laid out in the Yousef petition, the SAMs emanate,

| effectively, and for all practical purposes, from the Southern District of New

York, the appropriate district court with jurisdiction over this issue is this
Court.

18. Why both Padilla and Jabarah are inapplicable to the case at bar, is
quite simple: Yousef does not seek through this action to challenge neither
his conviction, nor, significantly, his conditions of confinement, something
that the courts have made clear is an issue to be directed at the warden of the

facility holding the inmate. Rather, Yousef challenges the underlying basis

for the Special Administrative Measures to be imposed upon him.

19. First of all, in the administrative challenges that Yousef field with the
Bureau of Prisons he was careful to make it clear that he was questioning the
underlying basis for the SAMs to be applied to him. He did this through the
entire process. Exhibit B to the filed petition contains the various BOP
challenges that Yousef filed. For example, in the administrative challenge

filed on July 27, 2010, Yousef expressly stated: “I challenge the ongoing

[10]

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imposition and application of the SAM.” This was re-iterated in his August:
9" 2010 challenge; his October 14", 2010 challenge (“The response given:
does not address the separate elements of the complaint. Namely, why I

have not received written notification of the basis for the SAM, and the.
reason for the ongoing imposition and application of the SAM in general, ..

.”): his October 21°, 2010 challenge; and his November 10", 2010 challenge
(“I am dissatisfied with the response given because no specific reason was

given as to why there is a substantial risk in my communications or contacts

with others.”’).

20. Secondly, the accompanying Memorandum of Law lays out quite
clearly that Yousef is challenging the basis and rationale for the Justice ~
Department’s continued application of the SAMs to him. As set forth early
in the Memorandum,

- Petitioner Yousef has been subjected to the Special Administrative
Measures since before his incarceration at ADX-Florence. * * * He
has; as further set forth below, exhausted his administrative remedies.
See Exhibit B for a copy of. Petitioner Yousef’s administrative
complaints and the responses of the Bureau of Prisons. ‘The gravamen
of his complaint, and the basis for this habeas petition is that the
Government has failed to adequately set forth the basis for his
continued incarceration under the SAMs. After having been in United.
States custody (and almost the entire time in solitary confinement) for
a period of sixteen years, the argument that he is a threat to society, or
that there is a substantial tisk that his communications will lead to
“death or serious bodily injury” tends (to be kind) to become

somewhat suspect and clearly merits the impartial and unbiased eye of
a federal district court.

[11]

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Yousef Memorandum of Law at pp. 5-6. Footnotes omitted.

' 21. It is made clear, over and over, throughout the Memorandum of Law

| that Yousef is not challenging the individual conditions of confinement that

the SAMs have imposed. For example, in the discussion of the Prison
Litigation Reform Act, 42 U.S.C. §'1997e, Yousef argues that it does not
cover. the instant court proceeding, as he is directing his challenge to his
particular designation as a person who ought to be subject to the SAMs. _
Yousef Memorandum at. pp. 11-19. This position is re-iterated in the
discussion of the application of the Administrative Procedure Act to the .
issuance of the SAMs regulation, 28 C.F.R. § 501.3. See: Yousef
Memorandum at pp. 29-30. Further on, in the discussion regarding the.
internal procedures of the Justice Department in actual requests by U.S.
Attorneys for issuance of SAMs, the focus is solely upon the criteria that the
Justice Department is to apply in making the SAMs regulation applicable. to
an inmate. See Yousef Memorandum at pp. 30-34. The Memorandum also -
provides a detailed discussion of and analysis of the reasons, such as they
are, they ‘the SAMs have been applied to petitioner Yousef. See Yousef
Memorandum at pp. 42-46. Finally, the “Summary and Relief Requested”,

make it clear that this case or controversy is solely related to the issue of

[12]

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whether Ramzi Yousef should be subject to the Special Administrative
Measures, viz.,

The issue ‘and question then..presents itself as to what
Remedy can this forum provide to him? First and foremost, he,
and his counsel, must.be provided’ with the reasons that the
Attorney General, or his lawful designee, have decided that he
is subj éct to the provisions of § 501. 3(a). As the SAMs, as laid
out in Exhibit A, make clear, there is no basis for thém; they
are merely a:fait accompli. . But, if we go a bit further, and
review the responses of the Bureau of Prisons (as set forth in

- Exhibit B) it is clear. that.that the position of the BOP (i. e., the’
Justice Department) is that Yousef is subject ‘to Section
501.3(a) due to his convictions in’the mid-1990s. From that
fact with which Yousef certainly does not contest, the Justice
Department takes the leap that he is one whose “communica-
tions or contacts with others could result in death, serious
bodily injury or substantial damage to property that would
entail risk of death or serious bodily injury.” Why one should ~
lead: to the other is not: explained. It is as conclusory a.
statement as one can possibly find, and is, in and of itself, no. .
evidence that would support imposition of the SAMs.

Yousef Memorandum of Law at pp. 47-48.

22, The Petitioner also obj ects fo the sua sponte dismissal and transfer of ©
his cause of action to the District of Colorado. Yousef was never eiven the
opportunity to present his claims in court, and, indeed, the Government
never even responded to the habeas petition. In general, such a sua sponte
dismissal is disfavored by the courts. As this Circuit stated in Thompson y. -
Choinski, 525 F.3d 205 (2d Cir, 2008), dismissal without the chance to:

present one’s case, on the court’s own motion, is looked upon with.suspicion

[13]

Case No. 1:12-cv-02585-RPM Document 6-1 filed 10/03/12 USDC Colorado pg 30 of 44

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1 .| by the courts; and may even serve, in itself, as a basis for reversal of the
2 | district court’s actions. As the Circuit put it,

3_| The district court dismissed *Thompson’s claims sua sponte

4 without giving him a chance.to-be heard in opposition. We have -

5 repeatedly cautioned against this practice because, among other

6 reasons, providing notice and an opportunity to be heard --
7

8

“avoids the risk that the court may overlook valid answers to its
perception of defects in the plaintiffs case.” Snider v

9 Melindez, 199 F.3d 108, 113 (2d Cir. 1999). Indeed, “dismissal
10 jn such a manner may be, ‘by itself, grounds for reversal.’ ” See
11 id, (citing Square D Co. v. Niagara Frontier Tariff Bureau, ...
12 Inc., 760 F.2d 1347, 1365 Qd Cir. 1985) (Friendly, J.)).

13 925 E.3drat 209 n. 3.

14 23, This sua sponte dismissal of Yousef’s petition and transfer to the
15 | District of Colorado denied him even the minimal opportunity to present his
16 | case before the Court.

17 _Warrerore Declarant respectflly requests that this Court grant the
18 | relief sought i in the annexed motion, together with all such further relief as

19 this Court shall deem just.and proper.

20

21 ee ~ Respectfully submited,

22

24 °

25 . fd V-
26 Bernard V. Kleinman, Esq.

27 SO , _ Attorney for Petitioner YOUSEF
28

29 |Dated: Sept-2, 2011
30 | White Plains, NY

[14]

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{

CERTIFICATE OF SERVICE

Iam Bernard V. Kleinman, attorney of record for the named Petitioner, .

| Ramzi Yousef, herein, and I do affirm, under pain of penalty of the laws of:

the United States of America, that on the 2d day of September 2011, I did
serve the annexed Notice of Motion, Declaration and Memorandum of Law,
and annexed exhibits, on David Raskin, Esq., Assistant U.S. Attorney for the
Southern District of New York, at 1 St. Andrews Plaza, New York, NY
10007, the address so designated by said attorney for that purpose by —
depositing a true copy of same enclosed in a postpaid properly addressed —
wrapper, in — a post office — official depository under the exclusive care
and custody of the United States Postal Service within the State of New

York, and did duly file a copy with this Court under BCR,

Datéd: Sept. 02, 2011 =~ :
White Plains, NY 4
‘ ernard V. Kleinman .

{i]

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{ i

EXHIBIT A

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Case 1:93-cr-00180-KTD Document 827 Filed 04/09/10 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

thnited States of America,

-against-

Ramzi Yousef,

Respondent.

ee ee ee x

KEVIN THOMAS DUFFY, U.S.D.d0.;

I appoint Bernard V.

Kleinman, as

93 CR 180 (KTD)

ORDER

counsel from the

C.0.A. panel for this district, to represent Ramzi Yousef, the

defendant in the captioned case.

SO ORDERED,

Rated: New York, N.Y,

April & 2010

“KEVIN THOMAS us .8)o.0,

Case No. 1:12-cv-02585-RPM Document 6-1 filed 10/03/12 USDC Colorado pg 34 of 44

EXHIBIT B

i

se

Westlaw,

Slip Copy, 2011 WL 3422834 (S.D.N.Y.)
(Cite as: 2011 WL 3422834 (S.D.N.Y¥.))

H

Only the Westlaw citation is currently available.

United States District Court,
S.D. New York.
UNITED STATES of America,

v.
Ramzi YOUSEF, Respondent.

No, 93--cr-00180 (KTD).
July 22, 2011.

MEMORANDUM & ORDER
KEVIN THOMAS DUEFY, District Fudge.

*1 Petitioner Ramzi Yousef (“Petitioner”)
brings this petition for habeas corpus pursuant to 28
U.S.C. § 2255, claiming that the Special Adminis-
trative Measures (“SAMs”) applied to him during
his incarceration violate his constitutional rights.

For the reasons set forth below, the petition is
DENIED for lack of jurisdiction.

I BACKGROUND

Petitioner is currently incarcerated at the Fed-
eral Bureau of Prisons U.S.P. Administrative Max-
imum in Florence, Colorado, for charges related to
the 1993 World Trade Center bombing and Bojinka
airliner bombing plot. He is subject to SAMs, by
which the Attorney General sets forth detailed con-
ditions of confinement, pursuant to 28 CF.R. §
501.3(a). SAMs are implemented when “there is a
substantial risk that a prisoner's communications or
contacts with persons could result in death or seri-
ous bodily injury to persons, or substantial damage
to property that would entail the risk of death or
serious bodily injury to persons.” 28 C.F.R §
501.3(a)F8! As of October 2001, Petitioner's
SAMs are authorized for one year periods and have
been renewed annually since being issued by the
Justice Department in 1997.

FNI. During his original trial in 1996 it
was found that Petitioner was collecting
urea in his cell. Urea was a main ingredient

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Page |

im the WTC bomb. Petitioner also attemp-
ted to obtain the particular type of cheap
wristwatch that had been used as the tim-
ing device in the Bojinka plot.

By these measures, Petitioner is not allowed
meetings with physical contact, cannot share a cell
with other inmates, and is limited from communic-
ating with other inmates. The SAMs limit the
volume, frequency and permitted recipients of Peti-
tioner's communications (oral, written or recorded)
with all persons including his attorney(s); permit
examination, delay, and analysis of said communic-
ations; and limit his access to publications. Peti-
tioner previously challenged the SAMs with the
Federal Bureau of Prisons, requesting both notice
of the reasons for their continued application and
for the SAMs to be lifted. These requests have been
denied. On June 17, 2011, Petitioner filed the in-
stant habeas petition.

TE. DISCUSSION

Since Petitioner's § 2255 motion is
“challenging the conditions of [his] confinement,”
it is properly brought as a habeas claim pursuant to
28 U.S.C. § 2241. Jabarah v. Garcia, No. 08 Civ.
3592(DC), 2010 WL 3834663, at *4 (S.D.NY.
Sept. 30, 2010) (citing Thompson v. Choinski, 525
F.3d 205, 209 2d Cir.20083). The Supreme Court
held in Rumsfeld v. Padilla, 542 U.S. 426 (2004),
that “for core habeas petitions challenging present
physical confinement, jurisdiction lies in only one
district: the district of confinement,” and that the
proper respondent “is the warden of the facility
where the prisoner is being held, not the Attorney
General or some other remote supervisory official.”
Id at 435, 443; Drakoulis v. Ashcroft, 356
F.Supp.2d 367, 370 (S.D.N.Y.2005). Therefore, the
proper venue for Petitioner's claims is the district
where he is in custody. Jabarah, 2010 WL
3834663, at *3; see also Santulli v. United States,
No. 02 Civ. 8664(SAS), 2003 WL 21488084, at *2
(S.D.NLY. June 25, 2003).

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| ( Page 3 of 3

Page 2
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(Cite as: 2011 WL 3422834 (S.D.N.Y,))

Accordingly, this Court “may decline to enter-
tain an application for a writ of habeas corpus and
may transfer the application ... to the district court
having jurisdiction to entertain it.’ 28 U.S .C. §§
1631. Because this Court lacks jurisdiction, it does
not reach the merits of Petitioner's claims. See
Rumsfeld, 542 US. at 430,

[I], CONCLUSION

*2 For the reasons set forth above, this action
is transferred to the United States District Court for
the District of Colorado.

SO ORDERED.
S.D.N.Y.,2011.
US. v. Yousef
Slip Copy, 2011 WL 3422834 (S.D.N.Y.)

END OF DOCUMENT

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APPENDIX G
[Under Seal]

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APPENDIX i
[Under Seal]

Case No. 1:12-cv-02585-RPM Document 6-1 filed 10/03/12 USDC Colorado pg 39 of 44

APPENDIX I

Case No. 1:12-cv-02585-RPM Document 6-1 filed 10/03/12 USDC Colorado pg 40 of 44

BERNARD V. KLEINMAN

ATTORNEY - AT - LAW
TWO GANNETT DRIVE, SUITE 418

WHITE PLAINS, NY 10604-3404
TEL: (914) 644-6660 EMAIL: atiylwyr@yahoo.com FAX: (914) 694-1647

January 10", 201

Hon. Kevin T. Duffy

U.S. District Judge

Southern District of New York
500 Pearl Street

New York, NY 10007

Re: United States v. RAMZI YOUSEF, 93-cr-00180

Your Honor,

As you may recall, | was appointed by the Court, effective April 8" 2010,
to represent Mr. Yousef in a pending habeas proceeding.

At this time I would respectfully request that the Court grant me the
assistance of a para-legal to be paid under the Criminal Justice Act.

As the Court is aware this case has a long and involved history.
Furthermore, the issues with regard to my client’s confinement, the Special
Administrative Measures, and other relevant issues, involve significant
records and documents that will require the assistance of a para-legal for
organization, review, etc. In addition thereto, an assignment by the Court
will permit me to allow her access to materials (and my client) that she may
nevertheless be precluded from assisting me on under the SAMs.

I would request that the Court grant me permission to secure the
services of Ms.Laura Sturtz. She has previously been appointed my para-
legal in CJA cases before the Hon. John Koeltl, and the late Judge David = —
Trager. I would also request that she be paid at a rate of $50 per hour, witha
maximum of fifteen (15) hours per week, and that she be permitted to
submit, subject to my review, interim vouchers.

Your attention to this request is appreciated.

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APPENDIX J

Case No. 1:12-cv-02585-RPM Document 6-1 filed 10/03/12 USDC Colorado pg 42 of 44

ACI CIA 2t AUTHORIZATION AND VOUCHER FOR EXPERT AND OTHER SERVICES (Rev. 05/10)

fT, CIRJDIST/ DLV. CODE 2, eC REPRESENTED VOUCHER NUMBER
IMA Ponies Dlaved Nose.

3. MAG. Kime NUMBER ‘ 4, BIST, Chan, NUMBER 5. APPEALS DKT/DEF. NUMBER 6, OTHER DKT. NUMBER
22 (BO (KID)
7. IN CASE/MATTER OF (Case Naine} 8 PAYMENT CATEGORY 9, TYPE PERSON REPRESENTED 10, REPRESENTATION TYPE
elony D Petty Offense Adult Defendant O Appellant (See Instructions)
A \ p Misdemeanor £} Other Juvenile Defendant [ Appellee
b OB Cl Appeal £}_ Other

ll. OFFENSE(S) CHARGED (Cite U.S, Code, Title & Section} ifmore than one offense, list (up ta five) major offenses charged, according to severity of offense,

12, ATTORNEY'S STATEMENT
As the attorney for the person represented, who is named above, [ hereby affirm that the services requested are necessary for adequate representation, E hereby request:
{} Authorization to obtain the service, Estimated Compensation and Expenses: $ OR
{1 Approval of services already obtained to be paid for by the United States pursuant to the Criminal Justice Act. (Nofe: Prior authorization should be obtained for services in excess of 8860,
excluding expenses)

Signature of Attorney Date

(i Panel Attomey LO Retained Attorney (0 Pro-Se D Legal Organization
ATTORNEY'S NAME (First Name, M01, Last Name, including any suffix), AND MAILING ADDRESS

nad Weanmean

Telephone Number:
13, DESCRIPTION OF AND JUSTIFICATION FOR SERVICES (See Jnsiruetions} 14, TYPE OF SERVICE PROVIDER
G1 [Investigator 15) £} Other Medical
02 {) Interpreter/Transtator 16 [ Voice/Audio Analyst
03° [Psychologist i?) F HairFiber Expert
04 «J Psychiatrist 18 [] Computer (Hardware!
15, COURT ORDER 05 [] Polygraph Software/Systems}
Financi at eligibility of the person represented having been established to the Court's satisfaction, the . a Fingemin Analy oS om) rae ar abeu Consultant
authorization requested in Item 12 is hereby granted. 08 & Accountant 21 Gj Jury Consultant
09 £} CALR (Wesilaw/Lexis, etc.) 22 (1 Mitigation Specialist
Signature of Presiding Judge or By Order of the Court 10) Chemist/Toxicologist 23° (J Duplication Services
11 £) Battistiss (Gee Instructions)
Date of Order Nuno Pro Tune Date 13° [J Weapons/Firearms/Explosive Expert 24 [(] Other Specify}
Repayment or partial repayment ordered from the person represented for this service at time of authorization. 14} Pathologist/Medical Examiner
f} YES ONO

MATH/TECKNICAL ADDITIONAL

6 SERVICES AND EXPENSES

(Attach itemization of services with dates) AMOUNT CLAIMED ADJUSTED AMOUNT REVIEW
a. Compensation
b. Travel Expenses flodging, parking, mals, mileage, etc.)
c._ Other Ex enises
17, PAYEE’S NAME AND MAILING y ADDRESS
TIN:
Telephone Number:
CLAIMANT’S CERTIFICATION FOR PERIOD OF SERVICE FROM TO
CLAIM STATUS O Final Payment (BG Interim Payment Number O Supplemental Payment
Thereby certify that the above claim is for services rendered and is correct, and that E have not sought or received payment (compensation or anyihing of vale) from any other source for these
services.
Signature of Claimant/Payee Date

18. CERTIFICATION OF ATTORNEY [hereby certify that the services were rendered for this case.

Signature of Atomey Date

20, TRAVEL AUEROVE r aL OTHER EXPENSES

19. TOTAL COMPENSATION

23. 0 Either the cost (excluding expenses) of these services does not exceed $800, or prior authorization was obtained.
O Prior authorization was not obtained, but in the interest of justice the Court finds that timely procurement of these necessary services could not await prior authorization, even though the
cast (excluding expenses} exceeds $800.

Signature of Presiding Judge Date Judge Code
24. TOTAL COMPENSATION 25. TRAVEL EXPENSES 26, OTHER EXPENSES 27. TOTAL AMOUNT APPROVED

28. PAYMENT APPROVED IN EXCESS OF THE STATUTORY THRESHOLD UNDER 18 U.S.C, § 3006A(e)(3}

Signature of Chief Judge, Court of Appeals (or Delegate) Date Judge Code

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APPENDIX K
[ Under Seal]

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APPENDIX L
[ Under Seal]

